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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


UNITED SPECIALTY INSURANCE COMPANY,

                                        Plaintiff,               AMENDED COMPLAINT

       vs.                                                       Case No.: 15cv2802-LTS-JCF

FISK FINE ART SERVICES, LLC and
AIG PROPERTY CASUALTY COMPANY
formerly known as CHARTIS PROPERTY CASUALTY
COMPANY as subrogee of STEPHEN ROBERT,

                                        Defendants.



               Plaintiff, UNITED SPECIALTY INSURANCE COMPANY, by and through its

attorneys, HURWITZ & FINE, P.C., as and for its Complaint herein, alleges, upon information

and belief, as follows:

               1.         Now and at all times hereinafter mentioned, Plaintiff, UNITED

SPECIALTY INSURANCE COMPANY (“UNITED”), was and still is incorporated in the State

of Delaware with its principal place of business in the State of Texas, and issues insurance

policies under the laws of the State of New York.

               2.         Upon information and belief, Defendant, FISK FINE ART SERVICES,

LLC (“FISK”), was and is a domestic limited liability company organized under the laws of the

State of New York with its offices and principal place of business in the Borough of Brooklyn,

County of Kings and City and State of New York.

               3.         Upon information and belief, Defendant, FISK FINE ART SERVICES,

LLC is a single member domestic limited liability company.

               4.         Upon information and belief, Noah Fisk, is the sole member of FISK.

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               5.      Upon information and belief, Noah Fisk is a resident of the County of

Kings in the State of New York.

               6.      Upon information and belief, Defendant, AIG PROPERTY CASUALTY

COMPANY formerly known as CHARTIS PROPERTY CASUALTY COMPANY as subrogee

of STEPHEN ROBERT (“AIG”) was and is a foreign insurance company organized and existing

under the laws of the State of Delaware with is principal place of business in the City and State

of New York.

               7.      The amount in controversy exclusive of interests and costs exceeds

Seventy-five Thousand and 00/100 Dollars ($75,000.00).

               8.      The District Court has original jurisdiction over this action pursuant to 28

U.S.C. Section 1332(a)(1), based upon the parties’ diversity of citizenship and its monetary

threshold.

               9.      Defendant AIG is added as a nominal party to the litigation so that

complete relief can be afforded to all parties interested in the outcome of this action.

               10.     Upon information and belief, on or about October 2, 2012, the Defendant

FISK, through its President, Noah Fisk, and through its agent, Bobby Petsiavis, applied for a

policy of Commercial Lines Insurance Artisans Contractors Insurance to be effective from

October 5, 2012 to October 5, 2013 by completing an application (the “APPLICATION”).

               11.     Upon information and belief, the Defendant FISK reviewed, completed

and signed the APPLICATION, which APPLICATION contained the following language:

                       ANY PERSON WHO KNOWINGLY AND
                       WITH INTENT TO DEFRAUD ANY
                       INSURANCE   COMPANY   OR   OTHER
                       PERSON, FILES AN APPLICATION FOR
                       INSURANCE OF STATEMENT OF CLAIM
                       CONTAINING ANY MATERIALLY FALSE
                       INFORMATION, OR CONCEALS FOR THE
                       PURPOSES      OF      MISLEADING,
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                       INFORMATION CONCERNING ANY FACT
                       MATERIAL    THERETO,   COMMITS    A
                       FRAUDULENT INSURANCE ACT, WHICH IS
                       A CRIME, AND SUBJECTS THE PERSON TO
                       CRIMINAL AND … SUBSTANTIAL CIVIL
                       PENALITES AND … INSURANCE BENEFITS
                       MAY ALSO BE DENIED

               12.      Upon information and belief, the Defendant FISK knew and understood

that its answers to the questions posed on the APPLICATION and its representations and

statements, would be reviewed, considered and relied upon by the Plaintiff UNITED when

considering whether or not to issue a policy of insurance in response to the APPLICATION.

               13.     The APPLICATION requested that the Defendant FISK provide

information to the Plaintiff UNITED with certain critical information necessary for Plaintiff

UNITED to determine whether or not Plaintiff UNITED would issue a policy of Commercial

Lines Insurance to the Defendant FISK.

               14.     In the APPLICATION, Defendant FISK represented that it was in the

business of “fine arts delivery”.

               15.     In fact, Defendant FISK was also in the business of art installation.

               16.     In the APPLICATION, Defendant FISK was asked:

                       1.   DOES APPLICANT INSTALL, SERVICE OR
                            DEMONSTRATE PRODUCTS?

               17.     In response to the question, Defendant FISK answered “NO”.

               18.     In fact, that answer was false and a misrepresentation of the work

performed by Defendant FISK.

               19.     Based on these representations, Plaintiff UNITED issued to Defendant

FISK, a policy of Commercial Lines Insurance, Policy Number CCP 775608 which was




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subsequently renewed as Policy No. USA4009944, which renewal was in effect from October

16, 2013 to October 16, 2014 (“Policy”).

               20.     Upon information and belief, on or about December 18, 2013,

Defendant FISK was retained by Gladstone Gallery to install and did install an Anish

Kapoor sculpture in the entrance foyer of Stephen Robert’s apartment located at 2 East 7th

Street, Apt. 12P in the City and State of New York.

               21.     Upon information and belief, on or about April 22, 2014, the

sculpture so installed, fell off the wall, causing damage to the sculpture.

               22.     Upon information and belief, Stephen Robert made a first party

insurance claim to the Defendant AIG under a policy of insurance issued by AIG to Stephen

Robert.

               23.     Upon information and belief, Defendant AIG adjusted the claim for

$614,818.53 and paid Stephen Robert that amount, thereby becoming subrogated to the

claim.

               24.     Defendant AIG has now commenced a subrogation action against

Defendant FISK in the New York State Supreme Court, County of New York, under Index

No. 161770/14, seeking to recover $614,818.53 (“Underlying Action”).

               25.     Defendant FISK requested that Plaintiff UNITED defend and

indemnify it in the Underlying Action, and Plaintiff UNITED assigned counsel to represent

Defendant FISK in the Underlying Action.

               26.     Following the request for coverage under the Policy, Plaintiff

UNITED concluded the representations enumerated in paragraphs “12” and “14” above

were, in fact, false and material misrepresentations, and these misrepresentations were

designed to induce Plaintiff UNITED to issue the Policy.

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               27.    Had     UNITED      been       aware   of   the   truthfulness   of   the

misrepresentations, it would not have underwritten and issued the Policy.

                     AS AND FOR A FIRST CAUSE OF ACTION
                          AGAINST THE DEFENDANTS,
                       THE PLAINTIFF UNITED ALLEGES:

               28.    Upon information and belief, at the time the APPLICATION was

completed by the Defendant FISK, Defendant FISK was aware that, in fact, the representations

set forth in the APPLICATION were false and misleading and designed to induce Plaintiff

UNITED to issue the Policy.

               29.    Plaintiff UNITED relied on the statements and representations made by

the Defendant FISK in its APPLICATION in determining whether to issue the POLICY.

               30.    Had the Defendant FISK provided accurate and complete answers to the

questions on the APPLICATION, Plaintiff UNITED would not have issued the POLICY.

               31.    Accordingly, the POLICY should not have been issued and was void

ab initio.

               32.    The Plaintiff UNITED will tender back the premium collected for this

POLICY to the Defendant FISK.

                      AS AND FOR A SECOND CAUSE OF ACTION
                            AGAINST THE DEFENDANTS,
                         THE PLAINTIFF UNITED ALLEGES:

               33.    The Plaintiff UNITED repeats and realleges each and every allegation in

paragraphs “1” through “32” of this Complaint as if fully set forth herein.

               34.    SECTION        IV    –     COMMERCIAL             GENERAL        LIABILITY

CONDITIONS of the Policy, form CG 00 01 12 07, provided as follows:

                      6.      Representations

                              By accepting this policy, you agree:

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                              a.      The statements in the Declarations are
                                      accurate and complete;
                              b.      Those statements are based upon
                                      representations you made to us;
                              c.      We have issued this policy in reliance upon
                                      your representations.

               35.    Upon information and belief, the statements in the Declarations relating to

the business of the Defendant FISK, to wit, that it was in the business of Fine Arts Delivery,

were not accurate and complete, those statements were based upon representations made by

Defendant FISK, and the Policy was issued in reliance upon those representations.

               36.    Accordingly, Defendant FISK has breached the Policy.

                        AS AND FOR A THIRD CAUSE OF ACTION
                             AGAINST THE DEFENDANTS,
                           THE PLAINTIFF UNITED ALLEGES:

               37.    The Plaintiff UNITED repeats and realleges each and every allegation in

paragraphs “1” through “36” of this Complaint as if fully set forth herein.

               38.    SECTION I – COVERAGES, COVERAGE A BODILY INJURY

AND PROPERTY DAMAGE LIABILITY, COMMERCIAL LIABLITY CONDITIONS of

the Policy, form CG 00 01 12 07, as modified by the AMENDMENT OF YOUR WORK

DEFINITION, form CGL 1731 1111, provided as follows:

                      2.      Exclusions

                              This insurance does not apply to:

                                               ***

                              j.      Damage to Property

                                      “Property damage” to:

                                               ***

                                      (6)    That particular part of any property
                                             that must be restored, repaired or

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                                             replaced because “your work” was
                                             incorrectly performed on it.

                                               ***

                      THIS ENDORSEMENT CHANGES THE POLICY.
                             PLEASE READ IT CAREFULLY

                      AMENDMENT OF YOUR WORK DEFINITION

               This endorsement modifies insurance provided under the
               following:

                 COMMERCIAL GENERAL LIABILITY COVERAGE FORM

               Paragraph 22., York Work, of the Definitions Section is deleted in
               its entirety and replaced by the following:

               22.     “Your work”:
                       a.    Means:
                             (1)    Work or operations performed by you or on
                                    your behalf;
                             (2)    Materials, parts or equipment furnished in
                                    connection with such work or operations;
                                    and
                       b.    Includes:
                             (1)    Warranties or representations made at any
                                    time with respect to the fitness, quality,
                                    durability, performance or use of “your
                                    work”;
                             (2)    The providing of or failure to provide
                                    warnings or instructions; and
                             (3)    Workmanship.

               All other terms and conditions of this policy remain unchanged.

               39.     Upon information and belief, the damage to the sculpture above described

is excluded from coverage under the provisions of Exclusion “j” in the Policy.

                       AS AND FOR A FOURTH CAUSE OF ACTION
                             AGAINST THE DEFENDANTS,
                           THE PLAINTIFF UNITED ALLEGES:

                40.    The Plaintiff UNITED repeats and realleges each and every allegation in

paragraphs “1” through “39” of this Complaint as if fully set forth herein.

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                41.    The CLASSIFICATION LIMITATION ENDORSMENT contained in

the Policy, form CGL 1711b 0911, provided as follows:

               THIS ENDORSEMENT CHANGES THE POLICY. PLEASE
                            READ IT CAREFULLY

                      CLASSIFICATION LIMITATION ENDORSEMENT

              This endorsement modifies insurance provided under the
              following:

                COMMERCIAL GENERAL LIABILITY COVERAGE FORM

              A.       The following condition is added to Section IV –
                       Commercial General Liability Conditions:

                       Classification Limitation

                       Coverage under this contract is strictly limited to the
                       classification(s), and code(s), listed on the Commercial
                       General Liability Coverage Declarations page and its
                       endorsements or supplements.

                       No coverage is provided for operations not included within
                       the classification shown on the Commercial General
                       Liability Declarations, its endorsements or supplements for
                       “bodily injury”, “property damage”, “personal and
                       advertising injury” or medical payments.

                       This limitation does not apply to “bodily injury”, “property
                       damage”, “personal and advertising injury” or medical
                       expenses resulting from necessary and incidental operations
                       that are directly related to the operations shown on the
                       Commercial General Liability Coverage Declarations, its
                       endorsements or supplements…

                42.    The Classification for the Policy was “Truckers” and the code for the

Policy was 99793 which is the classification for Truckers/Delivery.

                43.    Installation of art work was an operation not included within the

classification shown on the Commercial General Liability Declarations policy, its endorsements

or supplements for “property damage”.


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                44.    Accordingly, there is no coverage under the Policy for the claims arising

out of the installation of the sculpture as above described.

                         AS AND FOR A FIFTH CAUSE OF ACTION
                              AGAINST THE DEFENDANTS,
                           THE PLAINTIFF UNITED ALLEGES:

                45.    The Plaintiff UNITED repeats and realleges each and every allegation in

paragraphs “1” through “44” of this Complaint as if fully set forth herein.

                46.    If it is determined that Defendant FISK is not entitled to defense or

indemnity under the Policy, or if the Policy is rescinded, Plaintiff UNITED is entitled to

recoupment and reimbursement of any expenses incurred in the defense of Defendant FISK in

the Underlying Action.

               WHEREFORE, Plaintiff, UNITED SPECIALTY INSURANCE COMPANY,

demands judgment as follows:

               1.      Declaring, Adjudging and Decreeing that the POLICY issued by the

Plaintiff UNITED to the Defendant FISK is rescinded and void ab initio; and

               2.      Declaring, Adjudging and Decreeing that Plaintiff UNITED has no

obligation to defend or indemnify any lawsuits, or process or adjust any claims presented under

the POLICY;

               3.      Recoupment and reimbursement of any costs and expenses incurred in the

defense of the Underlying Action;




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                4.      That UNITED SPECIALTY INSURANCE COMPANY be granted such

 other and further relief as to this Court may deem just, proper and equitable, together with the

 costs and disbursements of this action.


 DATED:         Buffalo, New York
                May 8, 2015

                                               HURWITZ & FINE, P.C.

                                               /s/ Cassandra A. Kazukenus
                                       By:
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